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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   MORIAH AHARON;
   JORDAN G. KUPPINGER, M.D.;
   DAMON J. DETESO, M.D.;
   ROSANNA CARUSO;
   CHRISTOPHER PAYTON;                        CASE NO. 9:20-cv-80604-RKA
   LEE ANGIOLETTI;                            CLASS ACTION
   MARIANGELLA MANNING;                       JURY TRIAL DEMANDED
   LYNNORA VASQUEZ; and
   REBECCA MADDEN, each on
   behalf of themselves, and all those
   similarly situated,

   Plaintiffs,

   v.

   CHINESE COMMUNIST PARTY;
   PEOPLE’S REPUBLIC OF CHINA; and
   PETROCHINA INTERNATIONAL
   (AMERICA), INC.


   Defendants.
   _______________________________/

                    PLAINTIFFS’ MOTION FOR THE COURT TO FIND
                  SUBJECT MATTER JURISDICTION UNDER THE F.S.I.A.
                  FOR THE PURPOSES OF DEFAULT FINAL JUDGMENT
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             Plaintiffs, by and through undersigned counsel, hereby respectfully file this Motion for the

   Court to find that it has subject matter jurisdiction under the Foreign Sovereign Immunities Act of

   1976, 28 U.S.C. § 1602, et seq. (FSIA), for the purposes of an eventual entry of default final

   judgment against Defendants Chinese Communist Party (CCP) and the People’s Republic of China

   (PRC). This motion is made pursuant to the Court’s October 25, 2023 Order, [DE 112], as

   modified by its November 5, 2023 Paperless Order, [DE 115], clarifying that the Parties should

   first focus on whether the Court has subject matter jurisdiction under exceptions to sovereign

   immunity embodied in the FSIA. In support thereof, Plaintiffs further state:

                                     PRELIMINARY STATEMENT

             Plaintiffs filed a First Amended Class Action Complaint on July 6, 2020, [DE 19, (and

   attached as Exhibit A)], on behalf of putative classes of aggrieved and injured claimants who were

   on the front lines of the COVID-19 pandemic as first responders and medical caregiving personnel,

   and who did not have access to adequate supplies of personal protective equipment (PPE) because

   of the alleged hoarding of PPE supplies, and other related conduct, by Defendants. As a result of

   being unable to procure proper or adequate PPE, these claimants were unnecessarily exposed to

   the virus and suffered injury, damage, and loss as a result. Although principles of “grace and

   comity” have traditionally barred suits against nonconsenting foreign states in U.S. courts,1 the

   FSIA provides several exceptions to sovereign immunity so that such suits may be maintained

   when warranted.

             Plaintiffs posit that two of those exceptions to sovereign immunity apply here: the

   commercial activity exception (28 U.S.C. § 1605(a)(2)); and the tortious conduct exception (§




   1
       See, e.g., Verlinden B.V. v. Central Bank of Nigeria, 461 U.S. 480, 486 (1983).
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   1605(a)(5)). Therefore, the Court may find that it has subject matter jurisdiction and proceed to

   briefing on the merits of Plaintiffs’ claims so that the PRC and CCP may be held accountable here

   for their hoarding of the PPE in the lead up to the pandemic and the resulting injuries to Plaintiffs

   and the putative class members.

                                      PROCEDURAL POSTURE

          After the First Amended Complaint (FAC) was filed, Plaintiffs followed through with

   service of process on the PRC and CCP pursuant to the Hague Convention as mandated by the

   FSIA under § 1608(2). On February 7, 2021, the PRC’s Ministry of Justice transmitted a letter to

   undersigned and the Court, [DE 42], refusing service because this action “would infringe the

   sovereignty or security of the People’s Republic of China (Article 13).” The Ministry was referring

   to Article 13 of the Hague Convention. Plaintiffs subsequently sought leave to continue their

   service efforts pursuant to § 1608(a)(4) via the U.S. State Department and diplomatic channels.

   [DE 53].

          On November 23, 2021, the Court referred the motion to Magistrate Judge Bruce E.

   Reinhart, and Judge Reinhart recommended the grant of Plaintiff’s motion, which the Court

   adopted on December 20, 2021. [DE’s 61, 64]. The State Department did not serve the PRC and

   the CCP through the Beijing Embassy until January 18, 2023. [See DE 84-1, p. 1]. China

   responded that it still refused to accept service through a “diplomatic note” on February 2, 2023,

   [id.], and Briant S. Platt, Consul of the United States at the U.S. Embassy Beijing certified service.

   [DE 84-1, p. 2]. Plaintiffs filed their Motion to Find Service Has Been Effectuated, [DE 101], and

   the Court granted the motion on October 23, 2025, [DE 106], and subsequently ordered the Parties




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   to conduct this briefing in its steps to determine if default final judgment may be entered against

   the PRC and the CCP.2

                                       MEMORANDUM OF LAW

           The Parties have been first tasked with briefing the Court on whether exceptions to

   sovereign immunity apply to the action here such that the Court may find that it has subject matter

   jurisdiction as to claims against the CCP and PRC.3 Plaintiffs have further alleged that the Court

   has original jurisdiction pursuant to 28 U.S.C. § 1330(a), as this is a civil action against a foreign

   state, should the Court find the FSIA exceptions apply. Plaintiffs have also further alleged

   diversity jurisdiction pursuant to the Class Action Fairness Act of 2005 (28 U.S.C. § 1332(a) and

   (d)), but do not address the class action status here as it would be the subject of later briefing if the

   Court agrees with Plaintiffs at this threshold.

   I.      Factual Background

           Although this briefing is restricted to whether or not the Court may find that exceptions to

   sovereign immunity exist here, and not the merits of Plaintiffs’ claims, the factual background, as

   alleged by Plaintiffs, is instructive as to why the exceptions exist. Plaintiffs have attached the FAC

   and hereby incorporate its “general allegations” (¶¶ 31–156) as if fully stated herein. However,

   some of the allegations are particularly relevant to this briefing.




   2
     As part of the process of finding that service had been effectuated, Plaintiffs stipulated to the
   CCP being considered sovereign for the purposes of this litigation, which was an alternative
   position of their jurisdictional allegations in the FAC. (See Ex. A, FAC, ¶ 28).
   3
     As the Court has already determined that service has been effectuated on the PRC and CCP,
   Plaintiffs posit that the Court now has personal jurisdiction over those Defendants, as well as
   pursuant to 28 U.S.C. § 1330(b).
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   A. The Wuhan Epicenter and Coverup

          Plaintiffs allege, and it has been generally accepted, that the epicenter of the outbreak of

   the virus was in Wuhan, China — either because of “gain of function” manipulation of bat-derived

   coronaviruses at the Wuhan Institute of Virology (WIV) and a subsequent leak of what would

   become known as COVID-19; or because of a natural zoonotic transmission from one of Wuhan’s

   exotic animal “wet markets.” (FAC, ¶¶ 31–53). In the former scenario, the roots of the pandemic

   are found in a combination of WIV’s agenda to manipulate viruses and its rather shoddy safety

   and containment record and protocols. (See FAC ¶¶ 36–44). In the latter scenario, China’s quiet

   tolerance of, and participation in the market of exotic animals, along with unhygienic conditions

   at the “wet market” created a literal breeding ground for the animal to human transmission of the

   virus. (See FAC ¶¶ 45–49).

          In either scenario, China knew it had a problem on its hands by at least the beginning of

   December, 2019 and actively concealed it. (See, e.g., FAC ¶¶ 57–59). Despite investing billions

   of dollars into a Surveillance Reporting System (SRS) after the 2003 SARS epidemic to track and

   control the outbreak of similar viruses, the CCP controlled Wuhan Health Commission (WHC)

   forbade Wuhan hospitals and doctors to enter information about the emerging COVID-19 virus

   into the SRS. (See FAC ¶¶ 54–56). By later December it was becoming apparent to the staff at

   Wuhan hospitals (and the WHC) that there was an exponential rise in cases and that the virus was

   being easily transmitted human-to-human with deadly consequences. (See FAC ¶¶ 60–65). Wuhan

   doctors were using social channels to warn their colleagues, but on December 30, 2019, the WHC

   shut down the interaction and prohibited any sharing of treatment information without

   authorization. (See FAC ¶¶ 66–70, 74–76, 83, 86). Instead, the WHC told the world on December




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   31st that there was no evidence of human-to-human transmission, and the police began

   broadcasting prosecution of those doctors who still spoke out. (See FAC ¶¶ 73, 76–79).

          Chinese officials misled the World Health Organization into repeating its misinformation

   about human-to-human transmission in early January 2020, while China allowed large public

   gatherings to continue in Wuhan for the New Year and Lunar New Year. (See FAC ¶¶ 88–93,

   116–119). On January 11, 2020, the WHC issued a statement saying, “[a]ll 739 close contacts,

   including 419 medical staff, have undergone medical observation and no related cases have been

   found . . . . No new cases have been detected since January 3, 2020. At present, no medical staff

   infections have been found, and no clear evidence of human-to-human transmission has been

   found.” (FAC ¶ 99). By the time the WHC publicly confirmed human-to-human transmission on

   January 20, 2020, the damage had been done. (See, e.g., FAC ¶¶ 101–107, 121–123). Quarantining

   of Wuhan residents did not begin until January 23rd. (FAC ¶ 109). With knowledge of an outbreak

   of a deadly, infectious virus, China had imposed no prior travel restrictions, allowing direct flights

   from Wuhan to cities across the world, including many in the United States, carrying hundreds of

   thousands of potential carriers of the virus. (FAC ¶ 114, 116).

   B. The Lack of PPE in the U.S. Due to Defendants’ Conduct

          Against this backdrop, the CCP and PRC carried out a hoarding and cornering of the market

   scheme for PPE before it finally admitted to the world it had a COVID-19 problem. PPE consists

   of medical grade face masks (such as the N95 mask), face and eye shields, and other protective

   garments and accessories that prevent the respiratory droplets or aerosolized virus from reaching

   the eyes, nose, and mouths of the medical providers. (FAC ¶ 134). The reports are legion that

   medical care providers in the U.S. were unable to procure adequate supplies of PPE during the

   worst time of pandemic. (FAC ¶¶ 135–136). The lack of adequate supplies is the direct result of



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   Defendants’ hoarding of PPE from supplies around the world as well as preventing their factories

   from exporting PPE, at the time Defendants knew of the outbreak but before they allowed the

   information to become public. (See, e.g., FAC ¶¶ 139–141, 149).

          China is the dominant manufacturer worldwide of PPE supplies, yet in January 2020 it

   began importing billions of pieces of PPE from supplies around the world. (FAC ¶¶ 141, 149–

   150). The Department of Homeland Security’s intelligence arm found that “the Chinese

   Government intentionally concealed the severity of COVID-19 from the International community

   in early January while it stockpiled medical supplies by both increasing imports and decreasing

   exports . . . .” (FAC ¶ 142). It even enlisted employees of Chinese owned businesses in other

   countries, including the U.S. and Defendant PetroChina America, to scour stores and suppliers in

   their area for masks (especially N-95) and other PPE, and ship it back to China. (See, FAC ¶¶ 143–

   148). Bloomberg News reported that it saw a copy of the memo sent to PetroChina America with

   the instructions to buy as many masks as possible for export back to China. (FAC ¶ 147).

          The hoarding of PPE supplies and its dominance in manufacturing and curtailing of

   exports, meant that Plaintiffs and the members of the putative classes could not procure adequate

   supplies of PPE and were unnecessarily exposed to the virus while trying to fulfill their mission

   as medical care givers to a pandemic plagued populace.

   II.    Defendants Are Subject to this Court’s Jurisdiction

          Under the FSIA, “a foreign state is presumptively immune from the jurisdiction of United

   States courts; unless a specified exception applies, a federal court lacks subject-matter jurisdiction

   over a claim against a foreign state.” Saudi Arabia v. Nelson, 507 U.S. 349, 355 (1993); see 28

   U.S.C. § 1605 (listing exceptions). Where, as here, a plaintiff has “assert[ed] at least some facts

   that would establish [an] exception [to immunity under 28 U.S.C. §§ 1605-1607],” a defendant



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   claiming immunity “bears the ultimate burden of proving the nonapplicability of the exception.”

   Stena Rederi AB v. Comision de Contratos, 923 F.2d 380, 390 n.14 (5th Cir. 1991); see also Frank

   v. Comm. of Antigua & Barbuda, 842 F.3d 362, 367 (5th Cir. 2016).

          Here, Defendants are unable to sustain their burden of proving the nonapplicability of

   either of two exceptions: for commercial activity (28 U.S.C. § 1605(a)(2)) or their tortious conduct

   (§ 1605(a)(5)). Thus, neither the CCP nor the PRC is entitled to immunity.

   A.     The Commercial Activity Exception Applies to Defendants’ Acts

          Separate and independent of any other exception that may apply, Defendants’ wrongful

   conduct plainly falls under the commercial activity exception of 28 U.S.C. § 1605(a)(2), which

   provides an exception

          in which the action is based upon a commercial activity carried on in the United
          States by the foreign state; or upon an act performed in the United States in
          connection with a commercial activity of the foreign state elsewhere; or upon an
          act outside the territory of the United States in connection with a commercial
          activity of the foreign state elsewhere and that act causes a direct effect in the
          United States;

   § 1605(a)(2). The Defendants’ scheme was principally abroad, thus, as relevant here, the third

   clause of the commercial-activity exception provides jurisdiction over a foreign state when “the

   action is based ... upon an act outside the territory of the United States in connection with a

   commercial activity of the foreign state elsewhere and that act causes a direct effect in the United

   States.” § 1605(a)(2).

          To invoke jurisdiction under this clause, “(1) the lawsuit must be based upon an act that

   took place outside the territory of the United States; (2) the act must have been taken in connection

   with a commercial activity; and (3) the act must have caused a direct effect in the United States.”

   Devengoechea v. Bolivarian Republic of Venezuela, 889 F.3d 1213, 1224 (11th Cir. 2018) (quoting

   de Csepel v. Republic of Hungary, 714 F.3d 591, 598 (D.C. Cir. 2013)) (cleaned up).


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       1.      This lawsuit is based upon acts that took place outside the United States.

            “[A]t the first step in a commercial-activity-exception case, [courts] must identify the

   conduct upon which the suit is based.” Devengoechea, 889 F.3d at 1222 (citing OBB

   Personenverkehr AG v. Sachs, 577 U.S. 27, 33 (2015)). The FSIA itself “does not elaborate on the

   phrase ‘based upon.’” Sachs, 577 U.S. at 33. The Supreme Court has noted that “the relatively

   sparse legislative history offers no assistance.” Nelson, 507 U.S. at 357.

            When assessing what act a suit is “based upon,” courts consider the lawsuit’s “basis” or

   “foundation.” Id. (citations omitted). That, in turn, requires courts to look at the “particular

   conduct” that constitutes the “gravamen” of the suit. Devengoechea, 889 F.3d at 1222 (citing

   Sachs, 577 U.S. at 33). “In other words, [courts] focus on the ‘core’ of the suit—the foreign state's

   ‘acts that actually injured’ the plaintiff.” Id. (quoting Sachs, 577 U.S. at 33); see also “Gravamen,”

   Black’s Law Dictionary (11th ed. 2019) (defining “gravamen” as “[t]he substantial point or

   essence of a claim, grievance, or complaint.”). Courts look to the “elements of a claim that, if

   proven, would entitle a plaintiff to relief.” Nelson, 507 U.S. at 357. Further, courts compare the

   plaintiff’s “theory of the case” and the facts the plaintiff’s “claims turn on” with the act the plaintiff

   claims lies as the basis of the lawsuit. Sachs, 577 U.S. at 35.

            To zero in on the gravamen of the case at bar, this lawsuit is based on trade in the mask

   and PPE market by Defendants, and the harm sustained by Plaintiffs stemming from Defendants’

   manipulation of the mask and PPE market. No uniquely-governmental activity lies at the

   foundation of Plaintiffs’ claims. (See FAC ⁋⁋ 1–6, 24, 26, 53, 141, 154, 155). To the contrary,

   private companies, independent research laboratories, educational institutions and individual

   scientists worldwide actively pursue the mask and PPE market. By manipulating this market,

   Defendants engaged in harmful economic activity that posed a risk to other market participants,

   including Plaintiffs. When Defendants engaged in improper conduct in this market, Defendants’

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   conduct harmed Plaintiffs and led directly to the claims alleged in this lawsuit. Much of this

   conduct occurred in China, far from America’s shores, and thus indisputably took place “outside

   the United States.” Id.

           The FAC has nothing whatsoever to do with a complaint based upon quintessential

   government conduct, such as expropriation, at issue in numerous reported cases. See, e.g., United

   States v. Carmack, 329 U.S. 230, 236–37 (1946); Beg v. Islamic Republic of Pakistan, 353 F.3d

   1323, 1324 (11th Cir. 2003).

           Defendants cannot possibly carry their burden to negate this element on this record. There

   has never been a reported decision holding that a lawsuit challenging the core acts concerning

   manipulation of the mask and PPE market, where: the harm flowed directly from those acts

   providing the foundation of the claims and upon which the claims were based; were made under

   Plaintiffs’ theory of the case and the facts on which the claims turn and thus the elements of the

   claims that, if proven, will entitle Plaintiffs to relief here; did not form the “gravamen” of the

   lawsuit. (See FAC ⁋⁋ 24 (Defendants were market participants); 26 (overarching scheme by

   Defendants); 53 (manipulating market for masks and PPE after having caused pandemic); 141

   (cornered relevant market); 154 (hoarded masks and PPE); 155 (Plaintiffs’ harm included death,

   infection and other emotional and physical harm)).

      2.      The acts were taken in connection with a commercial activity.

           Under the FSIA, an activity is “commercial activity” if it is “either a regular course of

   commercial conduct or a particular commercial transaction or act.” Devengoechea, 889 F.3d at

   1220 (quoting 28 U.S.C. § 1603(d)). To decide whether an activity is commercial, courts look at

   “whether the particular actions that the foreign state performs (whatever the motive behind them)

   are the type of actions by which a private party engages in ‘trade and traffic or commerce.’” Repub.

   of Argentina v. Weltover, 504 U.S. 607, 614 (1992) (quoting Black’s Law Dictionary 270 (6th ed.

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   1990)). Assessing the commercial character of an act “is a question of behavior, not motivation.”

   Nelson, 507 U.S. at 360.

          A foreign state engages in commercial activity “where it acts in the manner of a private

   player within the market” or “where it exercises only those powers that can also be exercised by

   private citizens, as distinct from those powers peculiar to sovereigns.” Id. (internal quotation marks

   omitted). Conversely, “[p]ublic acts ... require sovereign power and thus cannot be performed by

   a private party.” Beg, 353 F.3d at 1325 (citing Weltover, 504 U.S. at 614–16). Public acts “make

   use of the state’s sovereign authority.” Id.

          As noted in the prior section, expropriation is an example of the exercise of sovereign

   power. See, e.g., Carmack, 329 U.S. at 236–37 (stating that “[t]he power of eminent domain is

   essential to a sovereign government”); Beg, 353 F.3d at 1324. In contrast, engaging in commercial

   or scientific pursuits are not public acts, even if the general topic touches upon public concern.

   See, e.g., Weltover, 504 U.S. at 614–15 (“[A] contract to buy army boots or even bullets is a

   ‘commercial’ activity, because private companies can similarly use sales contracts to acquire

   goods.”).

          Nothing about participating in the mask and PPE market is uniquely or peculiarly sovereign

   in nature. See, e.g., Honduras Aircraft Registry, Ltd. v. Gov’t of Honduras, 129 F.3d 543, 548–49

   (11th Cir. 1997) (breach of contract to pay for “goods and services”—a “marketplace activity”

   available to “private persons”); Guevara v. Republic of Peru, 608 F.3d 1297, 1301 (11th Cir. 2010)

   (“[T]he oldest American decision recognizing a commercial activities exception to sovereign

   immunity involved a reward for capture.”); Weltover, 504 U.S. at 615 (explaining that “[t]he

   commercial character” of the bonds was “confirmed by the fact that they [were] in almost all

   respects garden-variety debt instruments[ ]”); Devengoechea, 889 F.3d at 1221–22 (“Nothing



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   about [breaching a bailment agreement] is uniquely or peculiarly sovereign in nature.”).

   Defendants here engaged in the marketplace activity of participating in the mask and PPE

   market—economic activity that can be—and is—conducted by private actors worldwide.

            Pfizer, Merck, Moderna and virtually every other pharmaceutical company; Rockefeller

   University, Lawrence Livermore Laboratories and countless other private research institutions;

   universities throughout the world; and inventors and scientists in many nations all actively engage

   in mask and PPE research and development. Communist China and its instrumentalities, including

   Defendants here, cannot transform private, commercial activity into the exercise of sovereign

   power merely by taking action in the market for masks and PPE, even if they were seeking to

   promote a public purpose. Courts look to the “behavior, not motivation” behind an act. Nelson,

   507 U.S. at 360. Participating in the mask and PPE market is the type of action by which a private

   party engages in “‘trade and traffic or commerce.’” See Weltover, 504 U.S. at 614 (quoting Black’s

   Law Dictionary 270 (6th ed. 1990)).

       3.      The acts caused a direct effect in the United States.

            Under the FSIA, a “direct effect” is one that follows “as an immediate consequence of the

   defendant’s ... activity.” Weltover, 504 U.S. at 618 (citation omitted). The effect must be more than

   “purely trivial” or “remote and attenuated,” but it need not be a substantial or foreseeable effect.

   Id. In evaluating a “direct effect,” courts ask: “[W]as the effect sufficiently ‘direct’ and sufficiently

   ‘in the United States’ that Congress would have wanted an American court to hear the case?”

   Guevara, 608 F.3d at 1309 (quoting Harris Corp. v. Nat’l Iranian Radio & Television, 691 F.2d

   1344, 1351 (11th Cir. 1982) (internal citation and quotation marks omitted)).

            The Supreme Court in Weltover explained the meaning of “direct effect.” In that case,

   Argentina and its bank sold bonds to raise United States dollars to repay their foreign debts when

   they matured. Weltover, 504 U.S. at 609–10. The plaintiffs, who had bought some of these bonds,

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   designated New York as the place of payment and sued Argentina when it failed to pay after it

   unilaterally rescheduled the time for payment. Id. at 610. Based on the fact that New York was

   “the place of performance for Argentina’s ultimate contractual obligations,” the Supreme Court

   concluded that Argentina's rescheduling of its obligations to repay the bonds “necessarily had a

   ‘direct effect’ in the United States: money that was supposed to have been delivered to a New York

   bank for deposit was not forthcoming.” Id. at 619. The Eleventh Circuit interpreted Weltover to

   stand for the proposition that a “direct effect” occurs in the United States when “monies or goods

   [are] due in the United States.” Samco Global Arms, Inc. v. Arita, 395 F.3d 1212, 1217 (11th Cir.

   2005).

            A “direct effect” in the United States occurred, for example, in a case decided by the

   District of Columbia Circuit. De Csepel, 714 F.3d 591, involved the Herzog Collection, “one of

   Europe’s largest and finest private art collections.” Id. at 594. During the Holocaust, the Hungarian

   government, acting in conjunction with Nazi Germany, had seized the Collection from the de

   Csepel plaintiffs’ ancestors. Id. at 594–95. After World War II ended, the plaintiffs alleged, the

   Hungarian government reached bailment agreements with them concerning the Herzog Collection.

   Id. at 596. Under the alleged agreements, upon demand, the Hungarian government had “a duty ...

   to return” the property to the plaintiffs, whom it knew to reside in the United States. Id. at 596,

   601. When Hungary failed to return the Herzog Collection, the plaintiffs sued for bailment,

   conversion, constructive trust, accounting, declaratory relief, and restitution based on unjust

   enrichment. Id. at 596.

            The District of Columbia Circuit concluded that jurisdiction existed under the third clause

   of the commercial-activity exception. Id. at 601. In reaching this determination, the Court

   explained that Hungary's refusal to return the property to the plaintiffs in the United States caused



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   the requisite “direct effect” in the United States. Id. While the complaint did not expressly allege

   that the return of the artwork was to take place in the United States, significantly, the court opined

   that “this is fairly inferred from the complaint's allegations that the bailment contract required

   specific performance—i.e., return of the property itself—and that this return was to be directed to

   [the plaintiffs] Hungary knew to be residing in the United States.” Id.

           Here, there has never been a credible suggestion that the harm sustained by Plaintiffs

   emanated from anywhere other than Defendants’ acts. The harm suffered by Plaintiffs was directly

   caused solely by Defendants’ acts—a more direct effect cannot be posited. (See FAC ⁋ 155)

   (Plaintiffs’ harm included death, infection, and other emotional and physical harm). As such,

   Defendants cannot remotely carry their burden to prove the absence of a direct effect on Plaintiffs

   from Defendants’ acts.

      4.      Alternatively, the commercial activity exception applies because of acts by
              Defendants within the United States.

           Alternatively, given the additional conduct alleged by Plaintiffs to have taken place within

   the United States by agents and representatives of the CCP and PRC, the second clause of §

   1605(a)(2) — “or upon an act performed in the United States in connection with a commercial

   activity of the foreign state elsewhere” — also applies here. Courts look to whether the alleged

   acts of commercial activity in the U.S. are sufficient in and of themselves to form the basis for a

   cause of action. Lempert v. Republic of Kazakstan, 223 F. Supp. 2d 200, 203 (D.D.C. 2002) (citing

   Zedan v. Kingdom of Saudi Arabia, 849 F.2d 1511, 1514 (D.C. Cir. 1988)). Here, Plaintiffs allege

   that Defendants acted to buy up any and all available supplies of PPE in the U.S., which in and of

   itself, caused shortages of PPE in the U.S., thereby causing Plaintiffs’ injuries and damages, and

   forming the basis of their causes of action. (See, e.g., FAC ¶¶ 174-175; Count VI).




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   B.     The Tortious Conduct Exception Applies to Defendants’ Acts

          Defendants’ wrongful conduct clearly falls under the tortious conduct exception of 28

   U.S.C. § 1605(a)(5). The tortious conduct exception, which affords a separate and independent

   basis for the exercise of jurisdiction over Defendants here, provides an exception for any case:

          not otherwise encompassed in paragraph (2) above, in which money damages are
          sought against a foreign state for personal injury or death, or damage to or loss of
          property, occurring in the United States and caused by the tortious act or omission
          of that foreign state or of any official or employee of that foreign state while acting
          within the scope of his office or employment; except this paragraph shall not apply
          to--

          (A) any claim based upon the exercise or performance or the failure to exercise or
          perform a discretionary function regardless of whether the discretion be abused, or

          (B) any claim arising out of malicious prosecution, abuse of process, libel, slander,
          misrepresentation, deceit, or interference with contract rights;

   § 1605(a)(5).

          First, there is no question that a significant part of the alleged torts took place in the U.S.,

   and caused damage and injury within the U.S. And, as has been amply allege, Defendants were

   responsible for those tortious acts and damages. Defendants may take no safe harbor in the FSIA’s

   discretionary function exception.

          The FSIA’s discretionary function exception is modeled after a similarly-worded exception

   in the Federal Tort Claims Act (FTCA), 28 U.S.C. § 2680(a). See H.R. Rep. 94-1487, at 21 (1976),

   as reprinted in 1976 U.S.C.C.A.N. 6604, 6620. See also Usoyan v. Republic of Turkey, 6 F.4th 31,

   38 (D.C. Cir. 2021). Courts consider what the Supreme Court has said about the FTCA’s analogous

   provision. See MacArthur Area Citizens Ass’n v. Republic of Peru, 809 F.2d 918, 921–22 (D.C.

   Cir. 1987) (FTCA precedent provides “guidance” in FSIA cases); Usoyan, 6 F.4th at 38 (same).

          The Supreme Court has said that the FTCA’s discretionary function exception applies—

   and sovereign immunity is preserved—if two conditions are met. First, there must be no “federal


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   statute, regulation, or policy [that] specifically prescribes a course of action for an employee to

   follow.” Berkovitz v. United States, 486 U.S. 531, 536 (1988); Usoyan, 6 F.4th at 38; see also

   United States v. Gaubert, 499 U.S. 315, 322 (1991). Second, the agent’s exercise of discretion

   must be “the kind that the discretionary function exception was designed to shield”—that is, “based

   on considerations of public policy.” Berkovitz, 486 U.S. at 536–37; Usoyan, 6 F.4th at 38; see also

   Gaubert, 499 U.S. at 322–23. Because “the exception is designed to prevent ‘judicial second

   guessing’ of decisions ‘grounded in social, economic, and political policy,’” the exception

   “protects only governmental actions and decisions based on considerations of public policy.”

   Swafford v. United States, 839 F.3d 1365, 1370 (11th Cir. 2016) (quoting Berkovitz, 486 U.S. at

   536–37).

           Here, neither of the Berkovitz conditions are satisfied by Defendants, and thus Defendants

   cannot carry their burden of proving nonapplicability of the tortious conduct exception in this case.

      1.      Defendants’ policies left no room for independent judgment.

           Under Berkovitz, courts first determine whether the challenged conduct “involves an

   element of judgment or choice.” 486 U.S. at 536; Usoyan, 6 F.4th at 38. An action is not

   discretionary if an employee is “bound to act in a particular way.” Gaubert, 499 U.S. at 329;

   Usoyan, 6 F.4th at 38. If a governing law or policy “mandates particular conduct” and the

   employee violates the mandate, “there will be no shelter from liability because there is no room

   for choice.” Gaubert, 499 U.S. at 324; Usoyan, 6 F.4th at 38–39. In essence, Berkovitz’s first

   condition asks whether the challenged conduct is rightfully the product of independent judgment.

   See Berkovitz, 486 U.S. at 536 (citing Westfall v. Erwin, 484 U.S. 292, 296–97 (1988)); Usoyan,

   6 F.4th at 39. As alleged in the FAC, Defendants’ agents and representatives in China and United

   States were bound to act as Defendants dictated and mandated them to act. This is referenced in

   the FAC by the existence of the Military-Civil Fusion (MCF). (See FAC ¶¶ 146–147). The MCF

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   represents a “duty that transcends their personal and civilian identities.”4 The existence of the

   MCF means that Chinese citizens and ex-pats, no matter what, will put China first, or face breaking

   one of the PRC’s most supreme laws and the CCP’s dictates.

            The scheme to corner the market on masks and PPE was an absolute mandate by

   Defendants and its agents and representatives had no independent judgment as to the buying up of

   the PPE and shipping it back to China.

       2.      Defendants cannot prove the discretionary function exception was designed to
               shield their acts.

            The FSIA, like the FTCA, does not shield all exercises of discretion. Under Berkovitz, the

   discretionary function exception “protects only governmental actions and decisions based on

   considerations of public policy.” Berkovitz, 486 U.S. at 537; Usoyan, 6 F.4th at 45. Mere “garden-

   variety” discretion receives no protection. Cope v. Scott, 45 F.3d 445, 448 (D.C. Cir. 1995);

   Usoyan, 6 F.4th at 45. Only discretionary actions “grounded in social, economic, and political

   policy” fall within the exception. Gaubert, 499 U.S. at 323; Usoyan, 6 F.4th at 45. See also Red

   Lake Band of Chippewa Indians v. United States, 800 F.2d 1187, 1195–96 (D.C. Cir. 1986).

   “Grounded in” does not mean “motivated by.” Courts focus “not on the agent’s subjective intent”

   but rather “on the nature of the actions taken.” Gaubert, 499 U.S. at 325; Usoyan, 6 F.4th at 45.

            Determining which discretionary actions qualify is “admittedly difficult”—after all,

   “nearly every government action is, at least to some extent, subject to ‘policy analysis.’” Cope, 45

   F.3d at 448; Usoyan, 6 F.4th at 45. But courts have resisted invitations to shield actions implicating

   only “the faintest hint of policy concern[ ].” Cope, 45 F.3d at 449; Usoyan, 6 F.4th at 45. Moreover,

   blatantly careless or malicious conduct cannot be recast in the language of cost-benefit analysis.


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      F. Scott Kieff, Business, Risk, & China’s MCF: Modest Tools of Financial Regulation for a
   Time of Great Power Competition, Geo. Wash. L. Rev. (Vol. 88, Dec. 2020), available at:
   https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3615846.
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   Berkovitz’s second condition is met “only where the question is not negligence but social wisdom,

   not due care but political practicability, not reasonableness but economic expediency.” Cope, 45

   F.3d at 450 (internal quotations omitted); Usoyan, 6 F.4th at 45.

          Defendants’ acts are not shielded here because market manipulation does not involve

   policy analysis, social wisdom, political practicability, or economic expediency. To the contrary,

   Defendants’ acts of garden-variety market manipulation lack any identifiable public policy

   consideration. The FSIA (like the FTCA) does not shield Defendants’ acts taken as market

   participants, to manipulate the market for masks and PPE (after having caused pandemic that gave

   rise to the urgent need for masks and PPE); or to corner that market by hoarding masks and PPE

   to the detriment of Plaintiffs, who suffered death, infection, and other emotional and physical harm

   as a result of Defendants’ acts. (See FAC ⁋⁋ 24, 26, 53, 141, 154, 155). On this record, Defendants

   cannot sustain their burden of establishing the existence of Berkovitz’s second condition, and

   sovereign immunity does not exist.

          Accordingly, the tortious conduct exception affords a separate and independent basis for

   the exercise of jurisdiction over Defendants based on their acts as alleged in the FAC.5

          WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that the Court find

   that exceptions to sovereign immunity under the FSIA exist here and do not shield the PRC or the

   CCP from subject matter jurisdiction under the FSIA; and for such other relief as the Court deems

   just and proper.



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     Moreover, the discretionary acts safe harbor does not apply because “there is no discretion to
   commit, or to have one’s officers or agents commit, an illegal act,” all the more so where the act
   concerned is “clearly contrary to the precepts of humanity as recognized in both national and
   international law.” Letelier v. Rep. of Chile, 488 F. Supp. 665, 673 (D.D.C., 1980). Defendants’
   actions in concealing a dangerous pathogen and allowing it to flourish, all the while cornering the
   market on the PPE so desperately needed by Plaintiffs, is clearly contrary to the precepts of
   humanity.
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               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

          Prior to filing this Motion and pursuant to this Court’s Local Rules, counsel for Plaintiffs

   has conferred with all parties or non-parties who may be affected by the relief sought in the motion

   in a good faith effort to resolve the issues raised in the motion and Defendant PetroChina America

   has advised it opposes the relief sought herein,

          Respectfully submitted this 7th day of December, 2023.


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     UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA
             MORIAH AHARON, et al. v. COMMUNIST PARTY OF CHINA, et al.
                          CASE NO. 9:20-cv-80604-RKA

                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed this December
   7, 2023 using the CM/ECF system which will send a notice of electronic filing to all counsel or
   parties of record on the service list, including the following attorneys of record.

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